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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

WINDELS MARX LANE & MITTENDOREF, LLP
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Rodman E. Honecker (rhonecker@windelsmarx.com)
120 Albany Street Plaza

New Brunswick, New Jersey 08901

Attorneys for Plaintiff Heritage Community Bank
HERITAGE COMMUNITY BANK,

A New Jersey Chartered Bank,
Civil Action No. 08-4322 (JAG)

Plaintiff,
v.
. DECLARATION OF PETER KENNY
HERITAGE BANK, N.A., a proposed National: IN SUPPORT OF
Association to be engaged in the business of : PRELIMINARY INJUNCTION
banking,
Defendant.

Peter Kenny, pursuant to Title 28 U.S.C. §1746, declares:

1, 1 am President and Chief Executive Officer for Plaintiff Heritage Community
Bank ("Plaintiff").

2. This Declaration is submitted in support of Plaintiffs application for a
preliminary injunction, and to prevent continued infringement of Plaintiffs service mark by
Defendant Heritage Bank, N.A. ("Defendant"). I am fully familiar with all facts set forth herein

and I am authorized to make this declaration.

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PLAINTIFF HERITAGE COMMUNITY BANK
A. Opening, Registered Mark, Expansion
3. Plaintiff is a New Jersey chartered bank. Plaintiff's charter was issued on January
23, 2006. Plaintiff opened for business on March 27, 2006.
4, In its offering circular, the business of our bank was described as follows:

"The Bank's Business Plan projects operating the Bank in a manner
which enables it to serve its market area as a service-oriented,
locally headquartered and owned depository and _ lending
institution, focusing primarily on commercial real estate lending,
commercial loans, small business lending, deposit gathering and
personalized service. The Bank will attract deposits from the
general public and use those and other available sources of funds
to originate loans. The Bank also will invest in U.S. Government
and federal agency obligations and mortgaged-backed securities
which are backed by federal agencies and in tax-free bank
qualified securities, when deemed appropriate.

"The Bank, as a locally owned and headquartered commercial
bank, will emphasize personalized customer service, convenience
and local decision-making. As part of this strategy, the Bank will
develop a variety of products and services which meet the needs of
its customers. The Bank generally will seek to achieve long-term
financial strength and stability by (i) achieving significant net
interest income, (ii) maintaining a high level of asset quality, (iit)
maintaining a level of capital that meets or exceeds regulatory
requirements for a well capitalized bank, and (iv) controlling
general, administrative and other expenses."

5. Our bank’s service mark, "Heritage Community Bank," has been used throughout
its organizational phase, through its opening for business on March 27, 2006, and for conducting
its banking business right up to the present.

6. Our bank is the owner of the following federal service mark registration for the

mark "Heritage Community Bank" for banking services: Registration No. 3,288,121, registered

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on September 4, 2007. This registration is valid and subsisting and remains in full force and
effect. A true copy of Plaintiff's registered service mark is attached hereto as Exhibit A.

7. Our bank’s federal service mark registration is for "Banking; Banking
Consultation; Issuance of Bank Checks; Mortgage Banking; On-Line Banking Services;
Providing Bank Account Information by Telephone, in Class 36 (U.S. CLS. 100,101 and 102)."
See Exhibit A.

8. Our bank currently has 21 full-time employees and 4 part-time employees. Those
employees are located at Plaintiff's two branches located in Randolph, New Jersey 07869.

9, We currently plan on expanding by adding two branches. Our bank’s third branch
is under construction and is located in Denville, New Jersey. This branch is scheduled to open
on or about October 1, 2008. We are actively seeking a location for a fourth branch.

10. As of June 30, 2008, Plaintiff has total assets of approximately $74,100,000.00.

11. —‘ Plaintiff is a member of the following trade groups: Independent Community
Bankers Association; American Bankers Association; New Jersey League of Community
Bankers; Northern New Jersey Bankers CEO Group; Morris County Chamber of Commerce and
the Randolph Chamber of Commerce. Plaintiff will be joining the Denville Chamber of
commerce in the near future. In addition, all of Plaintiff's officers are involved with various not-
for-profit and/or service organizations.

B. Plaintiff’s Full Service Banking, Trade Areas, Growth and Reach

12. Our bank offers a full range of banking services to the general public, including
for checking and savings accounts and loans. Most of Plaintiff's customers are located in New
Jersey, but due to our bank's successful promotional work many are located throughout the New

York Metropolitan area and beyond.

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13. The total number of deposit accounts totals 2,201 accounts as August 31, 2008.
Total adjusted deposits were approximately $59,660,000.00 as of June 30, 2008. For example, we
now have 1,648 deposit accounts (75% of total), derived from account holders located in 26 zip
codes across Northern New Jersey (defined as including the following counties: Morris, Essex,
Bergen, Union, Sussex, Warren and Somerset), with over $500,000.00 of deposits from each of
those 26 zip code areas (aggregating to $36,572,000.00). Our bank has deposit accounts with
account holders located in the following New Jersey counties: Morris, Essex, Bergen, Union,
Sussex, Warren, Somerset, Passaic, Hudson, Hunterdon, Middlesex, Monmouth, Mercer, Ocean,
Burlington, and Atlantic. In addition, we have other deposit account holders located in New York
City; Rockland County, New York; Richmond County (Staten Island), New York; and Oneida
County, New York. We also have deposit account holders located in Pennsylvania, Connecticut,
Maryland, Virginia, North Carolina, South Carolina, Florida, Ohio, Illinois, Colorado, Nevada,
South Dakota, California and Hawaii.

14. Plaintiff's primary focus is on loans, including commercial real estate lending,
commercial loans, and small business lending to small and medium sized companies. Plaintiff's
total loan portfolio was $56,815,000.00 as of June 30, 2008, with 406 active accounts. The
average loan is approximately $140,000.00. Plaintiff has 19 lending relationships in excess of $1
million. Plaintiff tends to loan to businesses in a variety of industries whose annual revenues
range from $100,000.00 up to $25 million. Our bank has loans with borrowers located in the
following New Jersey counties: Morris, Essex, Bergen, Union, Sussex, Warren, Somerset,
Passaic, Hudson, Hunterdon, Middlesex, Monmouth, Mercer, Ocean, and Burlington. In
addition, we have other loans with borrowers located in New York City; Bronx County, New

York; Westchester County, New York; Rockland County, New York; and Oneida County, New

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York. We also have loans with borrowers located in Pennsylvania, Rhode Island, North Carolina
and Florida.

15. As of August 31, 2008, our bank had 165 loan accounts totaling $36,572,000.00
(56% of total) that were derived from 19 zip codes across Northern New Jersey, with over $1
million of loans in each of those 19 zip codes areas, and lines of credit totaling approximately $1
million issued to New York customers.

16. Our bank has defined its primary trade area as Morris, Warren, Sussex, Essex,
- Hudson, Bergen and Passaic Counties, New Jersey and its secondary trade area the remaining
counties in the State of New Jersey; Plaintiff's tertiary trade area is anywhere that our shareholder
base or referral sources lead us. A true copy of the relevant portion of our bank's Loan Policy is
attached as Exhibit B.

17. Our bank participates with other lending institutions on larger loans. Plaintiff has
purchased 2 participations from other banks and sold 2 participations to other banks.

18. Since inception, Plaintiff has expended approximately $429,000.00 in advertising
and marketing branding the “Heritage” name, “Heritage Community Bank,” including $49,691
expended in 2006; $192,260 in 2007; and $187,946 in 2008 through August 31“. We have
approximately $88,000.00 remaining in the 2008 budget for advertising and marketing expenses.
In total, by the end of 2008, our bank will have expended over $500,000.00 in advertising and
marketing.

19. ‘Plaintiff advertises every week in the 3 local papers and normally advertises in the
Sunday Daily Record (Morristown) and the Sunday Star Ledger. Plaintiff has used both radio

and television for advertising. Plaintiff has broadcast radio advertisements on WMTR (1250 on

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AM dial) and WDHA (105.5 on FM dial), both broadcast out of Morristown. Plaintiff has
broadcast television commercials on Cablevision, its "Morris Zone."

20. _—~ Plaintiff has placed billboards on roads and highways in Dover, Netcong,
Roxbury Township, Morristown, Kenvil and Randolph, New Jersey. Plaintiff has also placed
advertising posters at train stations in Dover, Morris Plains, and Denville, New Jersey.

21. ‘For our bank’s grand opening in 2006, we sent out 13,400 direct mail pieces, and
for our rewards checking program we sent out another 60,000 direct mail pieces. We are in the
process of finalizing our plans for opening our new Denville branch, which will include a direct
mail drop of approximately 13,500 pieces.

22. We currently utilize the Korn Hynes Advertising, Inc. located in Morristown,
New Jersey.

23. —‘Plaintiff’s sales force consists of 2 Business Development Officers, 2 Loan
Officers (with a third starting on October 6"), 3 Branch Managers, 1 Senior Loan Officer and the
President and CEO. In addition, Plaintiff has a Board of Directors composed of 10 external
Directors and a Business Development Council composed of 26 local business men and women
Our Board and Business Development Council are made up of individuals who reside or do
business in counties scattered throughout Northern New Jersey, including Morris, Essex,
Hudson, Union, Passaic, Sussex and Warren Counties, as well as Monmouth County. Each
individual in each group has a defined goal for generating both loan and deposits to assist us in
growing our bank’s business.

24. Plaintiff uses its Managers, Officers, and Directors, as well as its Business
Development Council members, to develop business. Plaintiff has developed targeted prospect

lists for the staff to call on to solicit business, grow our bank, and expand its reach. Plaintiff has

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a calling program that requires each of them to make a specific number of calls on CPAs,
attorneys, and other centers of influence as well as defined prospect lists of doctors, dentists and
other professionals. Our bank’s loan officers have individual goals of a total of 240 calls per
year (broken down by 156 prospect calls, 36 customer calls, 24 Center of Influence calls and 24
Advisory Board calls). One business development representative has an individual goal of 352
marketing calls (broken down by 240 prospect calls, 96 Center of Influence Calls and 16
Advisory Board calls). Another has an individual goal of 360 marketing calls (broken down by
288 prospect calls, 48 Affinity calls and 24 Center of Influence calls. In addition, one branch
manager has goals of 216 marketing calls (broken down by 192 prospect calls and 24 customer
calls).

25. Our bank has had a website since we opened, www.heritagecbnj.com. As a result,
we have been able to open a number of accounts outside our trade areas. We currently have a
proposal to upgrade our website to an interactive one. The upgrade should cost between
$30,000.00 and $40,000.00 and should be completed by the end of the year.
C. Plaintiff's Targeted Strategy and Positive Results

26. ‘Plaintiff's target customer ranges from the small local business person with
$100,000 in annual sales to middle market companies with annual sales up to $25 million. Our
bank’s strategy is to develop relationships with the principal owner(s) because of our
personalized, service-oriented philosophy, and local presence and decision-making.

27. Our bank’s strategy, with hard work, has earned success. After our first 9 months
in business, Plaintiff reported total assets of $39.1 million as of 12/31/06. For the year ending
12/31/07, Plaintiff reported total assets of $55.4 million, which was an increase of $16.3 million

or 42%. As of June 30, 2008, unadjusted total assets were $74.1 million, an increase of $18.7

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million or 34%. On an annualized basis, Plaintiff's assets will increase $37.4 million or 67% for
the year ending 12/31/08, to over $90 million, assuming the same growth trends continue for the
remainder of 2008. We hope to have total assets well in excess of $100 million in 2009.

28. Our bank is widely known, recognized, and referred to by members of the
banking and financial industry, as well as by members of the consuming public throughout its
history, as simply "Heritage" or “Heritage Bank.”

29. As aresult of our years of use and extensive sales of personalized services of the
highest quality, complemented by extensive advertising, promotion and press coverage, the name
and mark of "Heritage Community Bank" has come to be recognized by members of the
business, banking and financial community, as well as by members of the consuming public, as
exclusively identifying Plaintiff's services of the highest quality originating exclusively from
Plaintiff.

30. Moreover, as a result of the above, members of the business, banking and
financial industry, as well as members of the consuming public, have come to recognize that any
service mark beginning with "Heritage" or “Heritage Bank” when used for banking or financial
services is a name extension of Plaintiff's "Heritage Community Bank" mark, designating
personalized banking services of the highest quality originating exclusively from Plaintiff.

DEFENDANT (IN ORGANIZATION)
A. Notice to Defendant of Infringement

31. In May 2008, it came to Plaintiff's attention that Defendant's organizing group
intended to establish a competing bank, “to service New York Metropolitan Area businesses and
their owners and had filed an application for a national bank charter with the Office of the

Comptroller of the Currency under the name and service mark "Heritage Bank, N.A." See

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Counsel’s Declaration at Exhibit E. Defendant has clearly stated its intention to conduct banking
business and to serve customers in the New York Metropolitan Area, including New Jersey. Id.
at 38.

32, As Defendant's actions constituted a clear violation of the service mark rights held
by Plaintiff, Plaintiff's counsel wrote a cease and desist letter to the proposed President and Chief
Executive Officer of Defendant. See Counsel’s Declaration at Exhibit C. Plaintiff demanded
that Defendant cease and desist from using the name “Heritage Bank" in connection with
banking business within the New York Metropolitan Area. Id.

33. Discussions between the parties’ counsel followed, although no compromise was
reached because all of the proposals advanced by Defendant would infringe upon Plaintiff's
service mark by use of “Heritage” as the dominant identifying word. Id.

34. On June 18, 2008, Defendant was granted conditional approval by the Office of
the Comptroller of the Currency of its application for a national commercial bank charter. See
Counsel’s Declaration at Exhibit F. Defendant announced that it is presently targeting an early-
fall 2008 opening and intends to raise between $60 and $85 million in capital to fund
Defendant's formation and opening. See Counsel’s Declaration at Exhibit G.

B. Defendant's Identical Target Market and Overlapping Trade Area

35. | Defendant has announced its "target market" to consist of "privately owned
businesses and the middle market in the New York metropolitan area." See Counsel’s
Declaration at Exhibit G.

36. In its Offering Circular dated July 3, 2008, Defendant described its "Operating
Strategy," inter alia, as follows:

"Community-oriented board of directors. Our proposed directors
consist of experienced bankers or local business and community

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leaders. Most of our proposed directors reside in or are resident of
our primary service area, and all have significant business ties to
enable them to be sensitive and responsive to the needs of the
community. Additionally, our board of directors represents a wide
variety of business experiences and community involvement. We
expect that our directors will bring substantial business and
banking contacts to us.

* ok

"Individual client focus. We will focus on providing individual
service and attention to our target clients, which include small and
mid-size business owners, real estate owners, professionals from a
variety of disciplines, locally owned businesses, and individual
clients. As the Bank's employees, officers and directors become
familiar with our clients on an individual basis, we will be able to
respond to credit requests more quickly and be more flexible in
approving complex loans based on collateral quality and personal
knowledge of each client.

xk OK OK

"Marketing and advertising. We expect to utilize a targeted
marketing program in our market area and to develop our image as
a locally owned and operated bank with an emphasis on its people,
quality service, local decision making, product delivery flexibility
and personal relationships.

%* OK Ak Ok

"Opening additional banking locations. We plan to open
additional banking locations in our primary service area and hire
additional banking teams as opportunities become available and
our financial and capital condition permit. We will focus our
initial expansion efforts in areas where management has an
intimate knowledge of the local market and is therefore likely to be
most successful.

"Capitalize on our independent bank orientation. We plan to
capitalize on our position as a locally owned independent bank to
attract individuals and locally owned small and mid-sized business
clients that may be underserved by larger banking institutions in
our market area, which is a rapidly growing area.

"Emphasize local decision-making. We will emphasize local
decision-making by experienced bankers. This will help us attract
local businesses and service-minded clients." See Counsel’s
Declaration at Exhibit H, at 26-27.

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37. In its Interagency Charter Application to the Office of the Comptroller of the
Currency and the Federal Deposit Insurance Corporation, Defendant, inter alia, stated:
"The Bank will begin with a main office in New York City, New
York and two additional locations within the New York
metropolitan area, the exact sites for which have not yet been
determined. The Bank will consider additional branch locations as
necessary to adequately serve its customers to the extent

supportable by capital and as opportunities arise. All additional

branches will require regulatory approval.
*x* kok &

"The Bank does not intend to relocate the main office within the
first three years. As additional capital permits and opportunities
arise, the Bank may consider the strategic expansion of its banking
office footprint, which would be subject to the prior review and
approval of the OCC." See Counsel’s Declaration at Exhibit E, at
38 and 45.

38. Defendant has commenced solicitations in New Jersey and expressed its intent to
conduct banking business in New Jersey. For example, by letter dated July 9, 2008, David S.
Bagatelle, Defendant's President and CEO, wrote a letter to a Certified Public Accountant
practicing in Randolph, New Jersey (the same town where Plaintiff has its principal place of
business). Among other things, Defendant's President and CEO wrote: "Heritage Bank, N.A. (in
organization) plans to service the financial needs of privately-owed businesses, their owners and
executives in the New York metropolitan area — including New Jersey and Connecticut — in a
manner that seems to have dissolved with the emergence of big banks. We would like you to
consider becoming a founding shareholder." See Counsel’s Declaration at Exhibit I.

39. According to Defendant’s Offering Circular, the organizers and directors of
Defendant include persons with substantial ties to New Jersey, including Norman Schulman,
CPA, described in Defendant's Offering Circular as a partner at Schulman Wolfson Pucci &

Abruzzo, LLP, a certified public accounting firm with offices in New York City and North

Brunswick, New Jersey, who serves on boards in Northern New Jersey and Princeton; Matthew

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Seiden, described as a principal in an advertising and brand strategy firm who serves on board
and university alumni committee in New Jersey as well as his house of worship’s finance
committee in Millburn; Richard Carmichael, described as a principal in a family business after
spending eighteen years in commercial banking with United Jersey Bank and Summit Bank who
is actively engaged in the Montclair community and on the Montclair Museum of Art Board; and
Dr. Masood A. Rizvi, described as actively engaged in the private practice of medicine in Cedar
Grove since 1979, affiliated with hospitals in Livingston, Montclair, and Newark, and a
developer of ambulatory surgery centers in New Jersey who has developed an extensive reach to
a network consisting of many physicians in the area. See Counsel’s Declaration at Exhibit H, at
35-39,

40. During July and August 2008, Defendant's website stated that it had extended its
public investor presentations for an additional month. As of August 27, 2008, Defendant's
website stated that it had concluded its public investor presentations. As of September 17, 2008,
Defendant's website stated that it had garnered sufficient commitments and subscriptions, but
was receptive to additional inquiries, and indicated that it would move to the final phase of
opening preparations, proposing to open in the Fall of 2008 subject to final regulatory approval.
C. Demonstrated Actual and Likelihood of Confusion

41. Plaintiff and Defendant's services are similar and move through similar channels
of trade to similar classes of businesses and consumers, particularly small and medium sized
businesses, and Plaintiff and Defendant will be in competition with respect to those services.

42. Defendant's name of "Heritage Bank, N.A." is so similar to Plaintiffs name of
"Heritage Community Bank," as to be likely to cause confusion, mistake or deception as to the

source or origin of Defendant's services, in that the public and others are likely to believe that

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Defendant's services are provided by, or sponsored by, or approved by, or licensed by, or
affiliated with or in some other way legitimately connected with Plaintiff, to Plaintiff's
irreparable harm.

43. Actual confusion has already occurred:

(a) On August 27, 2008, I received an email from Fred Hyatt, a
real estate broker. He wrote: “Just saw some Intel that an
entity name “Heritage Bank” is consummating a
transaction at 105 Eisenhower [in Roseland, New Jersey].
If you can share, is that your organization? Did you have
representation?” A true copy of Mr. Hyatt’s email is
attached as Exhibit C.

I informed Mr. Hyatt that our bank was not involved.

(b) Additionally, around the same time period, a banking
industry professional informed me that he had heard
“Heritage Bank” was planning on opening a sales office in
Roseland and inquired about employment opportunities.

T informed the individual that our bank was not involved.

Based on these communications and _ follow-up
communications, it appears Defendant is planning to open a
loan production (sales) and wealth management services
office in Roseland, New Jersey.

(c) An employment recruiter (i.ec., a headhunter) recently
telephoned me about a prospect and expressed the mistaken
impression he was speaking with the President and CEO of
Defendant. More recently, I met a loan officer from
another bank who inquired whether Defendant was
affiliated with Plaintiff.

(d) Mary Alice Raushi is the Chairman and CEO of Platinum
Bank, a bank in formation to be headquartered in
Morristown, New Jersey. Ms. Raushi recently questioned
me whether Defendant was affiliated with our bank.

(e) On September 13, 2008, I had an existing client of our bank

stop by my office. Her father, a CPA in New York, had
received a solicitation package from Defendant. She

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wanted to know whether there was an affiliation with our
bank, as did her father.

Pursuant to 28 U.S.C. 1746. T hereby declare under penalty of perjury that the foregoing

is true and correct. Executed on September 1S 2008.

At Ps.

PETER KENNY

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EXHIBIT A

Kenny Declaration Exhibit
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CERTIFICATE OF REGISTRATION
PRINCIPAL REGISTER °

The Mark shown in this certificate has been registered in the United States
Patent and Trademark Office to the named registrant.

The records of the United States Patent and Trademark Office show that
an application for registration of the Mark shown in this Certificate was filed in the
Office; that the application was examined and determined to be in compliance with
the requirements of the law and with the regulations prescribed by the Director of the
United States Patent and Trademark Office: and that the Applicant is entitled to
registration of the Mark under the Trademark dct of 1946, as Amended.

A copy of the Mark and pertinent data from the application are part of
this certificate.

Yo avoid CANCELLATION of the registration, the owner of the
registration must submit'a declaration of continued use or excusable non-use
between the fifth and sixth years after the registration date. (See next page for more
information.) Assuming such a declaration is properly filed. the registration will
remain in force for ten (10) years, unless terminated b y an order of the Commissioner
Jor Trademarks or a federal court. (See next page for information on maintenance
requirements for successive ten-year periods.)

AW Dut

Director of the United States Patent and Trademark Office

 
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Int. CL: 36
Prior U.S. Cis.: 100, 101 and 102

Reg. No. 3,288,121
United States Patent and Trademark Office Registered Sep. 4, 2007

 

SERVICE MARK
PRINCIPAL REGISTER

Heritage Community Bank

HERITAGE COMMUNITY BANK. (NEW JERSEY THE MARK CONSISTS OF STANDARD CHAR.
CHARTERED BANK) ACTERS WITHOUT CLAIM TO ANY PARTICULAR

1206 SUSSEX TURNPIKE FONT, STYLE, SIZE. OR COLOR.

RANDOLPH. NJ 07869

FOR: BANKING: BANKING CONSULTATION: NO CLAIM IS MADE To THE EXCLUSIVE
ISSUANCE OF BANK CHECKS; MORTGAGE RIGHT TO USE "COMMUNITY BANK". APART
BANKING; ON-LINE BANKING SERVICES: PRO- FROM FHE MARK AS SHO
VIDING BANK ACCOUNT INFORMATION BY
TT HONE: IN CLASS 36 (US. CLS. 100, 101 AND SER. NO- 78-893.688, FILED 5-26-2006.

FIRST USE 7-1-2005, IN COMMERCE 7-1-2005. TINA BROWN. EXAMINING ATTORNEY
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EXHIBIT B

Kenny Declaration Exhibit
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SEP-14-2008(SUN) 11:07 P. 002/008

COMPLIANCE

Each loan transaction must comply with applicable State and Federal banking laws
and regulations. It is, therefore, the responsibility of each officer approving a

particular transaction to ensure that such a transaction complies with these laws
and regulations.

No loan commitment shall be extended without prior written approval of an
appropriate authorized fender, -

When considering any transaction, commitment or agreement involving loan
documentation other than on existing Heritage Community Bank forms, Counsel

should be consulted for proper form and language prior to closing or executing any
such agreement.

It shall be the general policy of Heritage Community Bank that no loan request or
application shall be declined based upon race, creed, color, national origin, sex,
age, disability or marital status, the fact that an applicant's income is derived from
any public assistance program, or the fact that an applicant has, in good faith,
exercised any right under the Consumer Credit Protection Act or any similar law.

TRADE AREA

A. Primary Trading Area

Heritage Community Bank's primary trade area is defined as Morris, Warten,
Sussex, Essex, Hudson, Bergen and Passaic Counties. The secondary trade area
will be the remaining counties of New Jersey.

B. Permissible Lending Area

Heritage Community Bank’s lending officers may grant loans in any area in close
proximity to the Bank which would permit servicing of those loan requests, More

specifically the Bank's permissible lending area will include the entire state of New
Jersey.

C. Out of Area Loans

Heritage Community Bank is willing to entertain loan requests out of its area but
only upon recommendation by the President/CEO or the Senior Loan Officer.

Some of the typical circumstances which would motivate Heritage Community Bank
' to consider loans outside of its trade area would be: Loan Participations, Loans to

stockholders, loans to a business or individual introduced to Heritage Community
Bank by a stockholder or depositor.

LEGAL LENDING LIMIT

 

Heritage Community Bank’s legal lending limit is 15% of the Bank's capital, surplus

and undivided profits, and ALLL. For these purposes, total related debt should be
its - Current\Lonn Policy.doc 3
Revised 4-29-08

 
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EXHIBIT C

Kenny Declaration Exhibit
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Honecker, Rodman E.

 

From: Peter Kenny [peter.kenny@heritagecbnj.com]
Sent: Monday, September 15, 2008 3:41 PM

To: Cagney, William; Honecker, Rodman E.
Subject: FW: Follow Up

Peter Kenny
President & CEO
1206 Sussex Turnpike
Randolph, N J, 07869

973-895-5810

This message (and any attachment) is confidential and intended for the sole use of the individual or entity to
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From: Hyatt, Fred (US) [mailto:Fred.Hyatt@am.jll.com]
Sent: Friday, August 29, 2008 1:55 PM

To: Peter Kenny

Subject: RE: Follow Up

Please see the attached file containing a pictorial map and the info sheet for 105 Eisenhower Parkway,
Roseland. | included your location on the map for a frame of reference. The space in question is on the 2nd
floor and the address is a very peculiar branch location, therefore | would guess this must be some kind of
processing center or back office. When | get the comp | will share the particulars.

Enjoy your Holiday Weekend - Fred

 

From: Peter Kenny [mailto:peter.kenny@heritagecbnj.com]
Sent: Thursday, August 28, 2008 5:37 PM

9/15/2008
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To: Hyatt, Fred (US)
Subject: RE: Follow Up

Fred

| believe that is Heritage Bank NA. Can you provide me with any more details eg. Square footage, full
address, city etc. Thanks and I'll see you on the second at 17am

Peter Kenny
President & CEO
1206 Sussex Turnpike
Randolph, N J, 07869

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From: Hyatt, Fred (US) [mailto:Fred.Hyatt@am.jll.com]
Sent: Wednesday, August 27, 2008 2:14 PM

To: Peter Kenny

Subject: RE: Follow Up

Pete,

Just saw some Intel that an entity name "Heritage Bank" is consummating a transaction at 105 Eisenhower.
If you can share, is that your organization? Did you have representation?

Thanks - Fred

 

From: Peter Kenny [mailto: peter.kenny@heritagecbnj.com]
Sent: Wednesday, August 27, 2008 11:23 AM

To: Hyatt, Fred (US)

Subject: RE: Follow Up

Fred

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Location: Bldg 3 Building Type: Class A Office

Roseland Boro
West Essex Cluster Status: Built Dec 2000
Suburban Essex/Rt 280 Submarket Stories: 4
Essex County RBA: 220,000 SF
Roseland, NJ 07068 Typical Floor: 55,000 SF

Developer: Mack-Cali Realty Corporation a avai aot SF

Management: Mack-Cali Realty Corporation Leased: ue

Recorded Owner: Mack-Metropolitan (Ltd)

Parcel Number: 18-00020-0000-00003
Parking: Ratio of 4.00/1,000 SF
Amenities: Atrium, Food Service, On Site Management

 
 
 
   

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206:

~ 13,236

 

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Location: Heritage Plaza
Morris West/I-80 Cluster
Western Morris Submarket
Morris County
Randolph, NJ 07869

Developer: -
Management: -

Recorded Owner: Heritage Plaza South Lic
Parcel Number: 32-00101-0000-00003-0001

Parking: -

 

Building Type:
Bidg Status:

Building Size:
Typical Floor Size:
Stories:

Land Area:

Total Avail:

% Leased:

Total Spaces Avail:
Smallest Space:
Bldg Vacant:

Retail/(Strip Center)
Built Apr 2007

12,000 SF
12,000 SF
1

1.83 AC

8,400 SF
30.0%

6

1,400 SF
8400

 

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8/29/2008
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